                    Case 18-22930-LMI    Doc 74    Filed 02/01/19     Page 1 of 5




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                       www.flsb.uscourts.gov
  IN RE:                                            CASE NO.: 18-22930-LMI

  MARIELA C. ROMAN                                      Chapter 7

            Debtor./

                     OBJECTION TO DEBTOR’S CLAIMED EXEMPTIONS

       Ross R. Hartog, the Chapter 7 Trustee (the "Trustee") for the estate of Mariela C. Roman

(the "Debtor"), through undersigned counsel, objects (the “Objection”) to the Debtor’s claimed

exemptions pursuant to Fed. R. Bankr. P. 4003. In support of the Objection, the Trustee states as

follows:

                                           Background

       1.       On November 8, 2018 (the “Petition Date”), the pro se Debtor filed a skeleton

petition (the “Petition”) under Chapter 7 of Title 11 of the United States Code.

       2.       Ross R. Hartog was subsequently appointed as the chapter 7 trustee.

       3.       The Debtor’s Section 341 meeting of creditors was originally scheduled for

November 27, 2018, but was eventually conducted and concluded on January 9, 2019 (the “341

Meeting”). The deadline to object to the Debtor’s claimed exemptions is February 8, 2019.

       4.       On November 26, 2018, the Debtor filed her schedules and statement of financial

affairs. See ECF No. 26.

       5.       The Debtor indicates on her Schedule A that she owns three real properties:

               i.        3856 SW 154 Place, Miami, FL 33185 (the “Ponce Estates Property”);

              ii.        11263 SW 74th Street, Miami, FL 33173 (the “Sunset Mansions Property”);

                         and
                        Case 18-22930-LMI     Doc 74    Filed 02/01/19     Page 2 of 5



                 iii.        234 NE 3rd Street, #1107, Miami, FL 33132 (the “Downtown Condo”)

                             (collectively, the Ponce Estates Property, Sunset Mansions Property, and

                             Downtown Condo shall be referred to herein as the “Properties”). See Id.

                                   Claim of Exemptions and Objection

          6.        The Debtor attempts to claim the Properties exempt under U.S.C. 552(o) and writes

in a description for each of the Properties in her Schedule C as follows:

                   i.        “Homestead Resident Property” for the Ponce Estates Property;

                  ii.        “Single Family” for the Sunset Mansions Property; and

                 iii.        “Condominium” for the Downtown Condo.

          7.        Accordingly, it appears that the Debtor is attempting to exempt the Properties as

homestead potentially under 11 U.S.C. § 522(o) and not § 552(o).

          8.        Nevertheless, the Trustee objects to the Debtor’s claim of exemption on the

Properties under both U.S.C. § 552(o) and § 522(o). 11 U.S.C. § 552 deals with the postpetition

effect of security interest and only has two subsections, (a) and (b). Accordingly, 11 U.S.C. §

552(o) is not applicable here as it is not a valid claim of exemption that the Debtor may raise to

exempt property from property of the estate.

          9.        If the Debtor is attempting to exempt the Properties under 11 U.S.C. § 522(o), the

Trustee also objects as § 522(o) is not applicable here. 11 U.S.C. § 522(o) is not a valid claim of

exemption but instead allows for a trustee or creditor to challenge a debtor’s homestead exemption

when the homestead property was acquired with non-exempt assets and with actual fraudulent

intent.        Accordingly, 11 U.S.C. § 522(o) is not applicable here as it is not a valid claim of

exemption that the Debtor may raise to exempt property from property of the estate.
                Case 18-22930-LMI           Doc 74      Filed 02/01/19      Page 3 of 5



        10.     During the 341 Meeting, she testified that the Ponce Estates Property is her

homestead.

        11.     The Debtor further testified at the 341 Meeting that family members are living in

the Sunset Mansions Property and the Downtown Condo.

        12.     Assuming the forgoing is true, the Debtor may be entitled to claim the Ponce Estates

Property, and only the Ponce Estates Property, as homestead under the Article 10, Section 4 of the

Florida Constitution, however, she has not done so relying instead on Section 522(o).1

        13.     Accordingly, the Debtor’s claimed exemptions on the Properties are invalid and the

Trustee should be authorized to administer same. Alternatively, the Debtor should be given the

opportunity to claim the Ponce Estate’s Property as her exempt homestead, and the Trustee should

be authorized to administer the Sunset Mansions Property and the Downtown Condo.

        WHEREFORE, the Trustee respectfully requests entry of an order (a) sustaining the

Objection; (b) finding that the Properties are not exempt; (c) alternatively, granting the Debtor and

opportunity to claim the Ponce Estate’s Property as her exempt homestead, finding tha the Sunset

Mansions Property and the Downtown Condo are not exempt; and (d) granting such other and

further relief as the Court deems just and proper.




1
  At a recent hearing on a motion for relief from the automatic stay, the Debtor also claimed in open court
that the Ponce Estates Property was her homestead. Furthermore, as indicated above the Debtor also
describes the Ponce Estates Property as her Homestead Resident Property on Schedule C. Also, in her
Petition, the Debtor indicates that although she currently lives at the Federal Correctional Complex,
Coleman Prison Camp at Coleman, Florida, she chose to file in the Southern District of Florida because
she “live[s] in Miami FL but I am currently in the custody of the Beauro sic of Prisons. When I am done
with my sentence I will return to Miami, FL.” Moreover, in a previous Chapter 13 bankruptcy filed in
2017, the Debtor claims the Ponce Estates Property exempt as her homestead under Article 10, section 4
of the Florida Constitution. See 17-14944-AJC, ECF No. 12, Schedule C.
               Case 18-22930-LMI         Doc 74     Filed 02/01/19     Page 4 of 5



                                CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing was served on all

counsel of record or pro se parties identified on the attached Service List via U.S. Mail and/or the

Court’s CM/ECF notification to those parties who are registered CM/ECF participants in this case

on February 1, 2019.



Dated: February 1, 2019               MARKOWITZ, RINGEL, TRUSTY & HARTOG, P.A.
                                      Counsel to Chapter 7 Trustee
                                      9130 South Dadeland Boulevard, Suite 1800
                                      Miami, Florida 33156
                                      Tel. (305) 670-5000
                                      Fax. (305) 670-5011

                                      By:     /s/ John H. Lee
                                              John H. Lee, Esq.
                                              Florida Bar No. 91795
778622                                        jlee@mrthlaw.com
                Case 18-22930-LMI          Doc 74      Filed 02/01/19    Page 5 of 5



                                       In re: Mariella C. Roman
                                        Case No. 18-22930-LMI
                                              Service List

18-22930-LMI Notice will be electronically mailed to:

Jeffrey S. Berlowitz on behalf of Creditor Chestnut Woods Homeowners Association, Inc.
jberlowitz@srhl-law.com, jortega@srhl-law.com

Ross R Hartog
rhartog@mrthlaw.com, FL81@ecfcbis.com;rhartog@ecf.epiqsystems.com;
rrh@trustesolutions.net;rhartog@ecf.courtdrive.com

John H Lee on behalf of Trustee Ross R Hartog
jlee@mrthlaw.com, ecfnotices@mrthlaw.com, mrthbkc@gmail.com,jgarey@mrthlaw.com,
ycandia@mrthlaw.com,gruiz@mrthlaw.com; markowitzjr73991@notify.bestcase.com,
jlee@ecf.courtdrive.com

Nicole M Noel on behalf of Creditor Select Portfolio Servicing, Inc.
bankruptcynotices@kasslaw.com, nmnoel@ecf.courtdrive.com

Office of the US Trustee   USTPRegion21.MM.ECF@usdoj.gov

Steven G. Powrozek, Esq. on behalf of Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper
spowrozek@logs.com, electronicbankruptcynotices@logs.com

Marlene Rodriguez on behalf of Creditor United States of America
marlene.rodriguez@usdoj.gov, Shannon.patterson@usdoj.gov;Milton.pacheco@usdoj.gov

Christopher P Salamone on behalf of Creditor U.S. Bank National Association, as Trustee for Residential
Funding Mortgage Securities I, Inc., Mortgage Pass-Through Certificates, Series 2007-S7
csalamone@rasflaw.com, csalamone@rasflaw.com

18-22930-LMI Notice will be mailed to:

Mariela C. Roman, Pro Se Debtor
Federal Correctional Complex
Coleman Prison Camp
POB 1027
Coleman, FL 33521

Synchrony Bank
PRA Receivables Management, LLC
c/o Valerie Smith
PO Box 41021
Norfolk, VA 23541

American Express National Bank
c/o Becket and Lee LLP
PO Box 3001
Malvern, PA 19355-0701
